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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                     April 05, 2022
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION


JULIO E. LOZA,                       §
                                     §
      Plaintiff,                     §
                                     §
VS.                                  §            CIVIL ACTION NO. 7:22-CV-00010
                                     §
SELECT PORTFOLIO SERVICING, INC., et §
al.,                                 §
                                     §
      Defendants.                    §

      ORDER DENYING AS MOOT DEFENDANTS’ MOTION TO CONSOLIDATE

       Now before the Court is Defendants’ Motion to Consolidate this action with Civil Action

No. 7:22cv65. (Dkt. No. 11). Subsequent to the filing of the Motion, Civil Action No. 7:22cv65

was dismissed without prejudice. Accordingly, the Court hereby ORDERS that the Motion to

Consolidate is DENIED as MOOT.

        SO ORDERED April 5, 2022, at McAllen, Texas.


                                                    ______________________________
                                                    Randy Crane
                                                    United States District Judge




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